Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 1 of 21

ist Choice Construction, Inc.

1°* Drywall, LLC

3180 Lamb Court Acquisition LLC and Linel Consulting LLC

5177 Builders, Ltd.

84 Lumber Company

A&M Business Properties, Inc. f/k/a A&M Properties, Inc., CRF Management Co.,
Inc. and Century Homes-Carlsberg, LLC

A.A. Stucco & Drywall, inc.

A.R.B.C. Corporation

Aarco, L.L.C.

ABC Drywall Corporation

ABF Drywall, Inc.

Aburton Homes, Inc.

AC1 Supply, Inc

Acadian Builders & Contractors, L.L.C.

ACE Home Center, Inc. and Robertsdale Ace Home Center (a non-existing legal
entity in the Abel case)

Active Drywall South, Inc.

Adams Homes of Northwest Florida, Inc. , Adams Homes LLC and Adams Homes
Realty, Inc.

Advantage Builders of America, Inc. and Advantage Builders of SW Florida, Inc.

Affordable Homes & Land, L.L.C.

AHS Construction Group, Inc. and AH Salce Construction Group, Inc.

Al Brothers, Inc. a/k/a $3 Enterprises, Inc. a/k/a Al Brother Metal Framing &
Drywall

Albanese-Popkin The Oaks Development Group, L.P. and Albanese Popkin
Development Group, LLC

All Florida Drywall Supplies, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 2 of 21

Allied Building Products Corp d/b/a Southern Atlantic Supply Division Corp and
Old Castle, Inc.

Allsteel & Gypsum Products, Inc.

Alpha Homes, Inc. f/k/a Suarez Housing Corp.

Alvarez Homes, Inc.

Alvian Homes, Inc. d/b/a Stones z More, Alvian Custom Homes, LLC and Alvian
Incorporated

Alvin G. Royes, Jr., L.L.C.

Alvin R. Savoie & Associates, Inc., Savoie Construction, Inc., Savoie Real Estate
Holdings, LLC, Savoie Realty, LLC and Savoie Construction & Development, LLC

American Building Materials, Inc.

American Dream Builders, Inc.

American Gallery Development, LLC and American Gallery Development Group,
LLC

American Housing Corporation

America's First Home of Southwest Florida, L.L.P., incorrectly named as
America's First Home, Inc.

Amerisouth, Inc.

AnaDon Construction, LLC

Angel Developments, LLC

Anthony F. Marino General Contractor, LLC

Anthony Stirp d/b/a Excel Construction of SW Florida, Inc.

Anthony's Drywall, Inc.

Aranda Homes, Inc.

ARM Structural, Inc. and Schenley Park Homes, LLC

Arthur Homes, L.L.C.

Ashton Houston Residential L.L.C .

Ashton Tampa Residential, L.L.C.

Associated Builders and Developers, Inc.

ATCO Interior Corp.

Aubuchon Homes, Inc.

Aurora Commercial Construction, Inc.

Avalon Building Corporation of Tampa Bay a/k/a Avalon Building Corporation of
Tampa Bay, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 3 of 21

Avatar Properties Inc.

Azimuth E & E, Inc.

B E Construction Corp.

B } & K Condo Construction, Inc.

B&B Disposal Services, LLC d/b/a Builder's Choice Home Center

B&B Smith Construction, Inc.

Bagley Construction, LLC

Banner Homes of Florida, Inc.

Barloy Contractors, Inc.

Baroney Homes, Inc.

Bass Homes, Inc.

Bauhaus Solutions, Inc., Bauhaus Solutions and Bauhaus, Inc.

Bayou Building Products, LLC

Bayshore Construction Company, Inc.

Baystate Drywall, Inc.

Baywood Construction, Inc.

BBL-Florida, LLC

Beazer Homes Corp.

Bella Builders, inc.

Ben & Joy Money and BMD, Inc.

Bender Construction and Development, Inc.

Benoit Builders, LLC

Best Drywall Services, Inc.

Beta Credit Management, LLC

Beta Drywall, LLC and Beta Construction, LLC |

BFS Townhomes, L.L.C.

Big Bear Construction Co., Inc

Big River Construction & Remodeling Co., Inc

Bill Gregory Drywall

Black Bear Gypsum Supply, Inc. and Black Bear Gypsum, LLC

Blanchard Homes Inc.

BMI! Construction, L.L.C.

Boardwalk Drywall, Inc.

Boasso Construction, LLC

Boohaker & Associates, LLC

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 4 of 21

Boulanger Drywall Corp.

Bovis Lend Lease, Inc. n/k/a Lend Lease

Boyle Lumber Company

Boynton Village, LLC, Hollywood Dixie Associates, LLC, Cornerstone Group
Construction, Inc., BoyntonVillage Associates, Ltd., Cornerstone Group
Development Corp., Cornerstone Group Development, LLC, San Remo
Associates, Ltd.

Bradford Lumber & Supply, Inc.

Bradford Plastering, Inc.

Brandi Rogers d/b/a Gulf South Drywall

Breakwater Custom Homes, Inc.

Brent Garrod Drywall, Inc.

Brooks & Freund, LLC

Brownstone Builders, Inc.

Builders Gypsum Supply LLP and
Builders Gypsum Supply Co., Inc

Building Materials Wholesale

Burmaster Construction, Inc.

BurMon Properties, L.L.C.

By-George, Inc.

C & C Homebuilders Construction, Inc., C&C Home Builders, Inc. and Christopher
T. Cadis

C & D Plastering & Stucco, Inc.

C. Adams Construction & Design, LLC

C.A. Steelman, inc.

Caliber Properties, LLC

Calmar Construction Company, Inc.

Capitol Materials, Inc.

Capricorn III Construction

Capstone Builders, LLC

Caribe Central LLC and Caribe East, LLC

Caribe East LLC

Carillon Lakes, LLC

Carl B. Hamilton, inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 5 of 21

Carl Gonzales

Carruth Brothers Lumber Company, Inc.

Carter’s Custom Homes, Inc.

CastleRock Communities LP

CDC Builders, Inc.

Centerline Homes, Inc., Centerline Homes Construction, Inc., Briella Townhomes,
LLC, Centerline Homes at B and A, LLC n/k/a Completed Communities II, LLC,
Centerline Homes at Tradition, LLC n/k/a Completed Communities II, LLC,
Centerline Homes at Delray, Inc., Centerline Port St. Lucie, Ltd. n/k/a Completed
Communities II, LLC, Centerline Homes at Georgetown, LLC, Centerline Homes
Signature Series, Inc .

Central Florida Finishers, Inc.

Chabot Enterprises, Inc.

Cherry Bark Builders

Christopher Duet d//b/a Woodtech

Ciara Homes LLC (incorrectly named as Cierra Homes, LLC) and Dylan Bourg

Citrus Park Development Group, LLC

City Salvage, Inc.

CL Architects and Contractors, Corp.

Clayton’s Drywall, Inc.

Cloutier Brothers, Inc.

CM Duncan Contracting, Inc.

Coastal Living Homes, LLC

Cockerham Construction, LLC

Continental Drywall Contractors, Inc.

Coral Plastering & Wall Systems, Inc.

CORE Construction Services, Southeast, Inc. d/b/a Core Construction

Cothern Construction Company and Volney Cothern

Cox Lumber Company, formerly d/b/a HD Supply Lumber and Building Materials

Craftmaster, LLC

Craig Homes, Inc.

Creative Home Builders, LLC

Cypress Builders, Inc.

D & A Construction Services Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 6 of 21

D & W Drywall, Inc.

D.c. Builders LLC

D.R. Horton, Inc. and D.R. Horton, Inc. — Gulf Coast

D’Alessio Drywall & Painting Company

Daelen of Tangipahoa, L.L.C.

Dalbert Porée and Dalbert Porée General Repairs & Renovations, !nc.

Daly Construction, Inc.

Danal Homes Development, Inc.

Darwin Sharp Construction LLC

Dave Walker Construction Inc.

David E. Diggs, LLC and David Diggs

Davis Construction Supply, LLC

Deangelis Diamond Construction, Inc. and Deangelis Diamond Homes, Inc.

Deco Paver Bricks, Inc.

Deerfield Court Townhomes, LLC a/k/a Lavish Holding Corp.

DeLaCruz Drywall Plastering & Stucco, Inc.

Deloach Corporation, Inc.

Derouen Homes, LLC

Design Drywall of South Florida, LLC and Design Drywall, inc.

Devon International Industries, Inc. f/k/a Devon International Trading, Inc.,
Devon International Group, Inc., Devon International, Inc., Devon Health
Services, Inc. and John A Bennett

Devonshire Properties, Inc. and Devonshire Builders, Inc.

Diamond Court Construction Company

Distinctive Drywall Designs, Inc.

Distinctive Finishes, Inc.

Diversified General Contractors, Inc.

DMH Development Co.

Dobson Construction, Inc.

Douglas B. Francis and Douglas B. Francis, Inc.

Drywall Experts, Inc.

Dunn Wright Construction, Inc.

Duo Fast Construction, Inc.

duPont Builders, Inc. and duPont Construction and Renovations, LLC

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 7 of 21

Dupree Construction Company, Inc., Dupree Construction, LLC, Dupree
Construction Company, LLC, Dupree Construction, Inc., Dupree Contractors, Inc.
and CB Dupree Construction, LLC

E. Jacob Construction, Inc. and E. Jacob Fakouri Construction, inc.

E.L. Cretin, LLC, Cretin Homes, LLC and Cretin Homes, inc.

Eastern Construction Group, Inc.

Eastmond Enterprises, Inc. and Eastmond Homes, LLC

Ed Price Building Materials Inc.

Eddleman Homes, LLC, Highland Lakes Homes, LLC, Courtside Development, Inc.,
Eddleman Properties, Inc., Park Homes, LLC, and Dunnavant Place, LLC

Edwards Construction

Eight at Fairview Corp.

Empire Construction, L.L.C.

Empire Properties, LLC and Empire Products, LLC

Everglades Lumber & Building Supplies, LLC

F & L Developers, Inc.

F. Vicino Drywall, Inc., F. Vicino Drywall Il, Inc. and F. Vicino & Company, Inc.

Faith Built Homes, LLC

Farthing MTR Enterprises, Inc. d/b/a Star Drywall, Inc.

Federal Construction Specialists, Inc.

Fekel Stucco & Plastering, Inc.

Finest Drywall, Inc.

First Choice Homes of SW Florida, Inc.

First Home Builders of Florida, LLC

Florida Home Partnership, Inc.

Florida Leisure Communities Corp.

Florida Style Services, Inc.

Font Builders, Inc.

Forester Homes, Inc. and Forester Construction Corp.

Four Star Innovations, LLC

Freemar Homes, Inc.

Frost Metal Framing & Drywall, Inc.

G Drywall Corp. and G. Drywalls Corporation

G. Patrick Bourgeois & Associates, Inc.

G. Proulx, LLC and G., Proulx, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 8 of 21

G.L. Building Corporation, G.L.Homes of Florida Corporation, G.L. Homes Limited
Corporation, G.L. Homes of Boynton Beach Associates IX, Ltd. Boyton Beach
Associates XVI, LLLP, Boynton Beach XVI Corporation, Miramar Associates IV,
LLLP, Miramar IV Corporation, G.L. Homes of Davie Associates II, Ltd., G.L. Homes
of Davie Associates III, Ltd., G.L. Homes of Davie Associates IV, Ltd., G.L. Homes
of Davie IV Corporation

Gant & Shivers Homes, LLC

Gateway Building and Design Corp.

Gator Gypsum, Inc.

George Fraker General Contractor, Inc.

GH Vero Beach Development, LLC

Gibson & Anderson Construction, Inc.

GLM Remodeling Building Contractors, Inc.

Global Home Builders, Inc.

GM! Construction, Inc.

Gold Coast Homes of SW Florida, !nc.

Gomez’s Interiors Corp.

Grand Harbour Homes, Inc.

Grays Bay Builders, Inc.

Great Southern Builders, LLC

Great Southern Homes, Inc.

Great Western Building Materials

Gregan Construction Corp. and Gregan Construction, Inc.

Gregg Nieberg, Inc.

Gremillion Homes, Inc.

Groff Construction, Inc.

Grove Hammock Investments, LLC

Groza Builders, Inc.

GSF Enterprises, Inc. d/b/a Foster Painting

Guarantee Service Team of Professionals, Inc. and William Folks

Gulf Coast Drywall, L.L.C. and Correct Custom Drywall, Inc.

Gulf Coast Engineering, LLC a/k/a Gulfcoast Engineering, Inc.

Gulf Coast Shelter, Inc. and Shelter Products Inc.

Gulfside Supply, Inc. d/b/a Gulfeagle Supply

Gulfstream Development Group, LLC

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 9 of 21

Gulfstream Homes, Inc.

H. C. Owen Builder, Inc.

Hal Collums Construction, LLC and HPC Holdings, LLC

Hallmark International Lands & Investments, Inc.

Hammer Commercial Services, LLC and Hammer Commercial Services, Ltd.

Hammer Construction Services, Ltd.

Hanover Homes, Inc.

Hansen Homes of South Florida, Inc.

Harbor Springs Construction and Development, LLC

Harold "Frank" Causey

Harisville Lumber & Barns, Inc.

Hearthstone, Inc. as Receiver for Rottlund Homes of Florida, Inc.

Heights Properties, LLC, Heights Custom Homes, Inc., Heights Properties, Inc.,
Heights Custom Homes, LLC, Heights Title Services, LLC and Heights Realty and
Investments, LLC

Hendrickson Construction, LLC

Heritage Builders of West Palm Beach, Inc.

Heritage Homes of Northwest Florida, LLC and Heritage Homes of NW FL, LLC

Hilliard Butler Construction, Inc.

Hinkle Drywall, Inc.

Hinkle Drywall, LLC

Holiday Builders Construction of Florida, LLC

Holiday Builders, Inc.

Home Depot U.S.A., Inc. and The Home Depot, Inc.
Home One Homes, Inc.

Home Tech, LLC

HomeTown Lumber & Supply, Inc.

Hovnanian Developments of Florida, Inc.

Hovnanian Enterprises, Inc.

Hovstone Properties Florida, LLC

Hoyt's Construction Co., Inc.

Image Drywall, Inc.

Independent Builders Supply Assoc., Inc.

Independent Drywall Distributors, LLC f/k/a China Drywall Funding Partners

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 10 of 21

In-Line Contractors, L.L.C. and In-Line Design, L.L.C.

Innovative Custom Builders, Inc.

Ironwood Properties, Inc. and Antilles Vero Beach LLC

Island Coast Drywall & Stucco, Inc.

J & A Stucco Drywall, Inc. and J&A Brothers Drywall & Stucco, Inc.

J&J Builders Northshore, Inc.

J. Cherry & Sons, Inc.

J. Helm Construction, Inc.

J.D. Tillman Construction Co.

J.M.G. Drywall, Inc.

J.P. Real Estate Development, Corp.

J.S.D. Builders, Inc.

J.W. Allen & Co., Inc

J.W. Hodges Drywall, Inc.

Jack's Drywall, LLC

Jack's, Inc.

James Drywall, LLC

James G. Hoskins, Inc. d/b/a Chippendale Contractors

JB Plaster, Inc.

JDC of Florida, Inc.

JDL Drywall, Inc.

JDM Builders, Inc.

JEBCO, Inc. and Chapel Hills, LLC

Jim Morris & Sons, Inc.

Jim Walter Homes, Inc. & Jim Walter Holmes, LLC

Jimmy Stokley d/b/a Choctaw Builders, Inc.

JK Construction, LLC

John Carew, Sr. d/b/a Carew Construction, Inc. and Carew Construction, Inc.

John Gillespie

John Korn Builders, LLC

John L. Crosby, LLC

Joseph Grimsly, LLC

JSK Construction, Inc.

Judson Construction Group, LLC

JWR Construction Services, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 11 of 21

K. Hovnanian Developments of New Jersey, Inc.

K. Hovnanian Developments of Texas, Inc. _

K. Hovnanian First Homes, LLC

K. Hovnanian Homes of Houston, LLC f/k/a K. Hovnanian of Houston, LP d/b/a
Parkside Homes

K. Hovnanian of Houston Il, LLC f/k/a K. Hovnanian of Houston Il, LP d/b/a
Brighton Homes

K. Hovnanian of Palm Beach XIII, Inc.

K. Hovnanian Windward Homes, LLC

Karr Drywall, Inc.

Kaye Homes, Inc. and Custom Homes by Kaye, Inc.

KB HOME Tampa LLC, KB HOME Florida LLC, KB HOME Treasure Coast LLC, KB
HOME Jacksonville LLC, KB HOME Orlando LLC, KB HOME Fort Myers LLC and KB
HOME/SHAW Louisiana LLC

KCG, Inc., REW Materials, Inc., REW Materials Orlando, LLC and KC Gypsum, Inc.

Kelley Drywall, Inc.

Kelley's Quality Drywall, Inc.

Kemah Construction, Inc. and M.K. Wong

Keystone Building Company, Inc.

King Cash and Carry Building Supplies, LLC

Klepk Bros. Drywall, Inc.

KT Drywall, Inc.

L & J Builders, Inc.

L.A. Homes, Inc.

L.R. Gardere Drywall Construction, Inc. |

Lake Ashton Development Group II, LLC by Century Residential, LLC

Lakehill Ventures, Inc.

Lancer Enterprises, Inc.

Land Services of FL, LLC and Butler Properties, LLC

LaPorte Builders, Inc.

Law Developers, LLC

Lebaron Brothers Drywall, LLC

Lee Roy Jenkins, Inc. and Lee Roy Jenkins

Legend Custom Builders & Best Homes of SW FL, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 12 of 21

Lennar Corporation, Lennar Homes, LLC f/k/a Lennar Homes, Inc., and U.S. Home
Corporation

Levet Homes, L.L.C.

Likness Construction of SW FL.

Littles Construction of Central Florida, Inc.

L'Oasis Builders Incorporated

Louran Builders, Vincent Montalto Const., Inc., and Vincent Montalto
Construction Inc.

LPR Builders, Inc.

LTL Construction, Inc.

Lucas Construction Corporation

Lucchetti Drywall, Anthony Lucchetti and AML Drywall

Lucky Strike M.K., Inc.

Luke & Sons Construction, Inc.

Lumar Builders, Inc.

LWH, LLC f/k/a Lee Wetherington Homes, LLC

M. Carbine Restorations, Ltd.

M. Slayton Construction, Inc.

M.K. Developers, Inc.

M/l Homes, Inc., M/I Homes of Florida, LLC, M/I Homes of Tampa, LLC, M/I
Homes of West Palm Beach, LLC and M/I Homes of Orlando, LLC

MACC Construction, Inc.

MacGlen Builders, Inc.

Management Services of Lee County, Inc. (f/k/a Paul Homes, Inc.)

Manclar Builders, Inc.

Mandalay Homes, Inc.

Mandy Drywall, Inc. a/k/a Mandy's Drywall & Stucco Corporation

Maranatha Construction Corp. and Maranatha Construction, Inc.

Maronda Homes, Inc. of Florida

Marsiglia Construction Co., Inc.

Marty's Drywall Services, Inc.

Marvin's, Inc.

Mastercraft Homes, LLC by Century Residential, LLC

Matmo Construction, L.L.C.

Mavied Corp.

Case 2:09-md-02047-EEF-MBN | Document 15695-3 Filed 08/13/12 Page 13 of 21

Mayeaux Construction, Inc.

Mazer's Discount Home Centers, Inc.

MC Contractors, Inc.

McCar Homes, Inc., McCar Homes - Tampa, LLC and McCar Homes, Inc. -
Jacksonville

McCluskey Custom Homes, Inc.

McCombs Services, LLC

McDowell Builders, LLC

McMath Construction, Inc., McMath Construction, LLC and Don McMath

MDW Drywall, Inc. a/k/a McCoy Drywall, Inc.

Meadows of Estero-Bonita Springs Limited Partnership

Medallion Homes Gulf Coast, Inc., Cargor Partners Ill - Parrish LC and Cargor
Partners IV - Bobcat LC

Melvin Prange, Jr. Construction, LLC

Mercado Enterprises, Inc.

Mercedes Homes, Inc.

Meridian Homes USA, Inc.

Meritage Homes of Florida, Inc. and Meritage Homes of Texas, LLC

Metropolitan Design Group, Inc.

MGB Construction, Inc.

Miami Riverfront Partners LLC, Latitude One pratners LLC, Latitude Retail
Partners LLC, Miami Riverwalk Investments LLC, Dellbrook Manager, Inc. and
EAF Manager, Inc.

Mid-State Drywall, Inc. d/b/a Michael Mosley Drywall

Mike Glass

Millennium Homes & Development, Inc.

MJE Construction Corp. and MJF Construction, Inc.

Modern Construction Group, Inc.

Moore Unique Interiors, Inc.

Morgan Homes, Inc.

MSC of NWF, Inc. and Michael Stanley Construction, Inc.

Nautical Homes, LLC n/k/a Statewide Structural, LLC

New Millennium Builders, Inc. and New Millenium at MCC, Inc.

New Orleans Area Habitat for Humanity, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 14 of 21

Newcastle Construction, Inc.

Nice Homes, Inc.

North Pacific Group, Inc. in Receivership

Northstar Holdings, Inc., Northstar Homes, Inc., Northstar Holdings at B&A, LLC

Northstar Homebuilders, LLC

Northstar Homes, LLC

NPG Chinese Drywall Property Damage and
Personal Injury Settlement Trust

Nu Way Drywall, LLC

Oak Tree Homes, Inc. and Thompson Wood Products, Inc.

Oakbrook arene 2 and Design, Inc., Stonebrook Estates Ltd., Stonebrook Estates,
Inc. and Viking V.,

Ocean Coast Saal of South Florida, Inc. and O.C.D. of S. Florida, Inc.

Ocean Construction, Inc.

O'Key Homes, Inc. d/b/a Dennis O'Key Affordable Homes

Osprey Gulfshore Building Materials, Inc.

Other Brothers Drywall, Inc.

Oxnard Building Materials d/b/a Great Western Building Materials, Inc.

Oyster Bay Homes, Inc.

P.D.C. Drywall Contractors, Inc.

Palm Coast Construction, LLC

Parr-Self, Inc

Patrick Drywall, Inc.

Patriot Homes, LLC

Pat's Construction, LLC

Penn Construction Co., L.L.C. and Penn Construction Company, LLC

Pensacola Stevedore Company, Inc. and Pate Stevedore Company, Inc.

Pezzano Contracting & Development LLC f/k/a Cornerstone Construction of SW
FL Inc.

Phillip W. Giles Drywall, LLC

PHL Construction L.L.C. d/b/a Summit Homes, LLC

Picayune Discount Building Supply

Platinum Property Management, Inc.

Portofino Homes, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 15 of 21

Precision Drywall, Inc.

Premier Communities, Inc.

Premier Design Homes, Inc. and Sedgwick Developers, Inc.

Prestige Development, Inc.

Pride Homes of Lakes by the Bay Parcel H, LLC and Pride Homes of Lakes by the
Bay Parcel J, LLC

Princeton Homes, Inc.

ProBuild Holdings LLC, a Delaware limited liability company, sole owner of
ProBuild Company LLC, a Delaware limited liability company, as successor by
merger to ProBuild East LLC, The Contractor Yard LLC, and Rosen Building
Supplies, Inc

Probuilders and Restoration of Louisiana, LLC

Professiona! Drywall Construction, Inc.

Protocol Construction, L.L.C. and G & H Restorations, L.L.C.

Pukka Development, Inc.

Quality Builders of North Florida, Inc.

R & H Masonry Contractors, Inc.

R. Fry Builders, Inc.

R. Mossel Construction, Inc

R.A. Tabora Enterprises, Inc.

Radd Builders, Inc.

RAH of Texas, LP

Ramos Builders, Inc.

Ray Adams d/b/a Rightway Drywall, Inc. & Rightway Finishing

Ray Beck, Inc.

Ray Horvath Drywall, Inc.

RCH Drywall Service, Inc.

RCL Development, Inc.

Reed Builders, LLC

Regatta Construction, LLC

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 16 of 21

Regency Homes, Inc., Regency Homes Group LLC, Regency Constructors LLC,
Regency Constructors Inc., Regency at Plantation Acres, LLC, Regency at
Stonebrook Estates LLC, Regency Custom Homes of Weston LLC, Stonebrook
Homes LLC, Stonebrook Partners LLC, Stonebrook Homes J.V., San Melina
Holdings LLC, Balmoral at Delray Lakes Estates LLC, Tuscany at Davie LLC, Black
Hawk Reserve J.V., Blackhawk Reserve LLC, Blackhawk Partners LLC, Saraceno at
Plantation Acres LLC, Greyhawk a Joint Venture, and Saraceno at Plantation J.V.

Residential Drywall, Inc.

Reve Development Corporation

RFC Homes, Inc.

Richard Hoover

Richard Jones Construction Company, Inc. and Scarborough Estates, LLC

Richmond Heights Community Development Corp.

Rick Strawbridge, Inc.

Rightway Drywall, Inc.

Rinker Materials of Florida, Inc. n/k/a CEMEX Construction Materials Florida, LLC

Rivera & Company of SW Florida, Inc.

Rivercrest, LLC, St. Joe Towns & Resorts, LP, The St. Joe Company f/k/a St. Joe
Corporation f/k/a St. Joe Paper Company and St. Joe Home Building LP

RiverStreet Homes, Inc.

RJL Drywall, Inc.

RJM Builders North, Inc., RJM Builders Inc. and RJM Builders South, Inc.

RL Drywall

Robert Lynch Builders, L.L.C.

Robert/Charles Builders, Inc.

Robertson Construction Corporation a/k/a Robertson Construction, Inc.

Roche Jr. Construction Inc.

Rockwell Builders, L.L.C.

Rogers Co., LLC

Royal Homes, L.L.C. and Marigold Court, LLC

Russ Mills d/b/a Mills Construction

S & D Specialties, Inc.

S&O Investments

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 17 of 21

S. Petersen Homes Inc.

S.D. & Associates, Inc.

$3 Enterprises, Inc.

SAM Drywall, Inc.

Saturno Construction AB, Inc.

Saucedo Construction, Inc.

Schear Corporation

Schmidt Brothers Homes, Inc.

Shamrock Building Materials, Inc.

Shelby Building Corp.

Shirley Construction and Drywall, Inc.

Shoma Homes at Keys Cove Phase II, Inc.

Shoma Homes Splendido, Inc.

Sidney Sutton Drywall, Inc.

Siesta Bay Custom Homes, LLC

Sixty Fifth and One LLC

Sleuth, Inc.

Smith Enterprises Inc. d/b/a Smith Drywall

Smith Family Homes Corporation and Smith Family Homes, Inc.

Smoky Mountain Materials, Inc. d/b/a Emerald Coast Building Materials

Sodrel Construction, Inc.

Solid Construction of the Gulf Coast, Inc.

Sorrento Lumber Company, Inc.

South Florida Custom Trim, Inc.

South Kendall Construction, Inc. a/k/a South Kendall Construction, LLC

Southbay Development Corp.

Southern Bay Homes, Inc.

Southern Heritage Builders, Inc.

Southern Homes, LLC, Tallow Creek, LLC, Springhill, LLC and Adrian Kornman

Southern Star Construction Co., Inc., Chinchuba Creek Garden Homes, LLC, and
Laporte Family Properties, LLC

Southwell Homes, LLC

Southwest Innovations, Inc.

Speedy Drywall Service, LLC

Spires Commercial Flooring, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 18 of 21

Spring Park Builders, LLC

Standard Pacific Corp., Standard Pacific of South Florida GP, Inc., Standard Pacific
Homes of South Florida GP, Inc., Standard Pacific of Tampa GP, inc., Standard
Pacific of Colorado, Inc., HWB Construction, Inc., Westbrooke Homes, Westfield
Homes of Florida, Inc. and Standard Pacific Homes of Southwest Florida, Inc.

Star Homes of Florida LLC

Star Services, Inc.

Steeler, Inc.

Sterling Communities at Talavera, LLC

Sterling Communities, Inc. and Sterling Communities Realty, Inc.

Steven R. Carter, Inc.

Steven Sweet Drywall, LLC

Stock Building Supply, LLC, Stock Building Supply of Florida, LLC, Stock Building
Supply, Inc., Stock Building Supply Holdings, LLC and Stock Building Supply West,
LLC

Stocker Drywall, Inc.

Stuart South Group, LC d/b/a Treasure Coast Homes

Suffolk Construction Company, Inc.

Sumaj Builders Corp.

Summit Contractors, Inc. and Summit Homes of LA, Inc.

Sun Construction, L.L.C. and Sunrise Construction and Development, LLC

Suncoast Building Materials, Inc.

Sunset Drywall, Inc.

Suntree Homes, Inc.

Swedberg Enterprises, Inc. d/b/a Florida Drywall

Sweet Interiors, Inc.

T & T Green Construction, Inc.

T&T Enterprises of SW Florida, Inc.

Taber Construction, LLC

Tapia Construction, L.L.C.

Taylor Construction Services, Inc.

Taylor Morrison of Florida, Inc.

Taylor Morrison Services, Inc.

Taylor Morrison, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 19 of 21

Taylor Woodrow Communities at Herons Glen, L.L.C

Taylor Woodrow Communities at Vasari, L.L.C.

Teamwork Construction, LLC

Teo's Drywall, Inc.

Terry Mott Builder

The David Group Inc.

The Haskell Company

The Henning Group, LC

The Jade Organization, Inc., Jade Organization, Inc. and Jade Organization
General Contractor, LLC

The Mitchell Company, Inc. and The Mitchell Company, Ltd.

The Ryland Group, Inc.

The Sterling Collection, Inc.

Thomas F. Gray Construction, Inc.

Thomas R. Gould, Inc. and Thomas Gould, Inc.

Three County Construction Co., inc.

Tim Barnett d/b/a Barnett Drywall

Timberline Builders, Inc.

Titan Drywall, Inc.

TMO Global Logistics, L.L.C.

Toll Estero Limited Partnership

Tommy Ganey

Total Community Action, Inc.

Total Drywall

Toula Properties LLC, Total Maintenance Services of the South, Inc. and
Professional Construction and Restoration, LLC and Enoch R. Emmons Jr.

TOUSA Homes Florida, L.P., successor by merger to EH/Transeastern, LLC

TOUSA Homes, Inc.

TOUSA, Inc.

Tracey Construction, Inc.

Treasure Coast Communities, LC

Triple Crown Homes, Inc. and The 103 Investments, LLC

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 20 of 21

Triple E Corporation

Triple J Plus Enterprises, Inc.

Triple M Drywall, Inc.

Trivium Construction, Inc.

Trust America Homes, Inc. d/b/a First American Homes

Tudela's Classic Homes, L.L.C.

Turley Heating & Cooling, Inc. and J. Brian Turley

Turn Key Home Builders, Inc.

Turner Wall Systems

Tuscan Harvey Estate Homes, Inc. and Tuscan Harvey Custom Homes, Inc.

United Dream Builders, Inc.

United Drywall & Stucco, Inc.

United Homes International, Inc.

United-Bilt Homes, L.L.C.

V&I Drywall & Stucco a/k/a V and | Drywall & Stucco, Inc.

Van Aller Construction, Inc.

Venetian Village, LLC

Vernon Construction Corp.

Vet Construction, Inc.

Vetter Lumber Company, Inc.

Vicinity Drywall, Inc.

Viking Homes of SW Florida, Inc.

Villa Development, Inc. d/b/a Villa Homes of SW Florida

Vintage Homes, LLC

Vista Builders, Inc.

Vizcaya Custom Homes, Inc.

Vortex Wall Systems

W. McDaniel Construction, Inc. f/k/a Nicholas McDaniel Construction a/k/a W.
McDaniel Construction

Walker Brothers, Ltd.

Waterways Joint Venture IV, LLC

WB Construction, Inc.

WCI Chinese Drywall Property Damage and
Personal Injury Settlement Trust

WCI Communities, Inc

Case 2:09-md-02047-EEF-MBN Document 15695-3 Filed 08/13/12 Page 21 of 21

Weekley Homes, LLC f/k/a Weekley Homes, LP, Weekley Homes, LP, David
Weekley Homes, LLC and DM Weekley, Inc.

Wellington Shores -- Wellington Limited Partnership

West Coast Drywall Construction, Inc.

West Construction, Inc.

Wholesale Building Products, LLC

William L. Perry Plastering & Drywall, Inc.

Williams-Brown, Inc.

Windship Homes of Florida, Inc.

Woodland Enterprises, Inc.

Woodside Group

Wyman Stokes Builder, Inc.

Yarco, Inc.

Ybarzabal Contractors, LLC

Zahn Luxury Homes, Inc. and Zahn Builders Florida, Inc.

